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            EXHIBIT B-22
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                                  August 31, 2022


Mark Langer, Clerk of Court
DC Court of Appeals
430 E St. NW
Washington, DC 20001



RE:    In the Matter of CONFIDENTIAL (J.B.C.), Esq.,
       DCCA NO. 22-BS-0059;
       Disciplinary Docket No. 2021-D193

Dear Mr. Langer

       Pursuant to Court of Appeals Rule 28(k), Respondent in the above-
referenced matter submits this citation to relevant supplemental authority.

       The Supreme Court has decided West Virginia v. EPA, 142 S. Ct. 2587
(2022), on June 30, 2022, after briefing in this case had been completed.

        West Virginia is a landmark administrative law decision holding that a
clear statement to delegate power is required in a statute when the entity
wielding delegated power seeks to resolve a “major question.” Id. at 2607-08.

       Regulation by state and local Bars of Executive Branch law enforcement
discretion in connection with the 2020 presidential election controversies is such
a “major question” of political significance. Id. There is no clear statement in 28
US.C. § 530B giving the United States Department of Justice or the local D.C. Bar
such extraordinary power over the internal deliberations at the highest levels of



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the executive branch. See also id. at 2617, 2621 (Gorsuch, J., concurring) (doctrine
protects both separation of powers and federalism).

        This supplemental authority is relevant to the argument in Respondent’s
Brief in Response to the Motion to Enforce and Cross-Motion to Quash at pp. 14-
20, in the Reply Brief in Support of the Motion to Quash at pp. 8-9; and
Respondent’s Reply Brief in Support of Cross-Motion to Stay Proceedings Before
the Board of Professional Responsibility Pending Resolution in This Court, at pp.
8-9.

       Respectfully submitted,

cc     Harry W. MacDougald
       Robert Destro
       Jeffrey B. Clark
       Hamilton P. Fox
       Jason R. Horrell

                                   Sincerely,


                                   /s/ Charles Burnham

                                   Charles Burnham, Esq.




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